               Case 2:22-cr-00004-LK Document 22 Filed 01/03/24 Page 1 of 2




                                                                     The Honorable Lauren King
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 7                           UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9
10      UNITED STATES OF AMERICA,                    NO. CR22-004 LK
11                              Plaintiff,
12                                                   GOVERNMENT’S MOTION TO
                                                     UNSEAL CASE
13                              v.

14
                                                     NOTING DATE: January 3, 2024
        JOHN ERIN BINNS,
15
                                Defendant.
16
17
18          The United States respectfully requests that the Court issue the proposed Order, which
19 directs the Clerk of the Court to unseal the docket and superseding indictment in the above-
20 captioned matter.
21 //
22 //
23 //
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27
     Motion to Unseal Case - 1                                         UNITED STATES ATTORNEY
     United States v. Binns, CR22-004 LK                              700 STEWART STREET, SUITE 5220
                                                                        SEATTLE, WASHINGTON 98101
                                                                              (206) 553-7970
               Case 2:22-cr-00004-LK Document 22 Filed 01/03/24 Page 2 of 2




1           Assistant Federal Public Defender Gregory Murphy informed the government that he
2 represents the defendant, John Erin Binns, in this matter. For these reasons, the government
3 has determined that there is no longer a compelling reason to maintain the materials under
4 seal and respectfully requests entry of the attached order.
5
6           DATED this 3rd day of January, 2024.

7
8                                            Respectfully submitted,

9                                            TESSA M. GORMAN
                                             Acting United States Attorney
10
11
                                             /s/ Sok Tea Jiang
12                                           SOK TEA JIANG
                                             Assistant United States Attorney
13                                           United States Attorney’s Office
                                             700 Stewart Street, Suite 5220
14                                           Seattle, Washington 98101-1271
                                             Phone: (206) 553-7970
15                                           Fax: (206) 553-4440
                                             Email: sok.jiang@usdoj.gov
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27
     Motion to Unseal Case - 2                                          UNITED STATES ATTORNEY
     United States v. Binns, CR22-004 LK                               700 STEWART STREET, SUITE 5220
                                                                         SEATTLE, WASHINGTON 98101
                                                                               (206) 553-7970
